           Case:DISTRICT
UNITED STATES           4:13-cv-00800-SRC
                                 COURT       Doc. #: 11 Filed: 07/23/13 Page: 1 of 2 PageID #: 55
NORTHERN DISTRICT OF INDIANA
       I Certify that the foregoing is a
true copy of the original on file in this
court and cause.

Robert Trgovich, CLERK                      UNITED STATES JUDICIAL PANEL
By /s/ Jennifer Darrah
                                                         on
                                             MULTIDISTRICT LITIGATION
Date:    July 23, 2013



           IN RE: BIOMET M2A MAGNUM HIP IMPLANT
           PRODUCTS LIABILITY LITIGATION                                                            MDL No. 2391



                                              (SEE ATTACHED SCHEDULE)



                                   CONDITIONAL TRANSFER ORDER (CTO −45)



           On October 2, 2012, the Panel transferred 8 civil action(s) to the United States District Court for the
           Northern District of Indiana for coordinated or consolidated pretrial proceedings pursuant to 28
           U.S.C. §1407. See 896 F.Supp.2d 1339 (J.P.M.L. 2012). Since that time, 231 additional action(s)
           have been transferred to the Northern District of Indiana. With the consent of that court, all such
           actions have been assigned to the Honorable Robert L Miller, Jr.

           It appears that the action(s) on this conditional transfer order involve questions of fact that are
           common to the actions previously transferred to the Northern District of Indiana and assigned to
           Judge Miller.

           Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
           Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. §1407 to the
           Northern District of Indiana for the reasons stated in the order of October 2, 2012, and, with the
           consent of that court, assigned to the Honorable Robert L Miller, Jr.

           This order does not become effective until it is filed in the Office of the Clerk of the United States
           District Court for the Northern District of Indiana. The transmittal of this order to said Clerk shall be
           stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
           Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                                FOR THE PANEL:


                   Jul 23, 2013
                                                                Jeffery N. Lüthi
                                                                Clerk of the Panel
Case: 4:13-cv-00800-SRC Doc. #: 11 Filed: 07/23/13 Page: 2 of 2 PageID #: 56




IN RE: BIOMET M2A MAGNUM HIP IMPLANT
PRODUCTS LIABILITY LITIGATION                                         MDL No. 2391



                   SCHEDULE CTO−45 − TAG−ALONG ACTIONS



 DIST     DIV.     C.A.NO.    CASE CAPTION


CALIFORNIA NORTHERN

 CAN       3      13−03015    Bloomquist v. Biomet, Inc. et al

MISSOURI EASTERN

 MOE       4      13−00800    Bayes et al v. Biomet, Inc. et al

OHIO NORTHERN

 OHN       3      13−00568    Darah v. Biomet, Inc.
